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8                          UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
10
                                             ) Case No. CV 19-9450-DMG (KSx)
11    BRIAN WHITAKER,                        )
                                             )
12                           Plaintiff,      ) JUDGMENT
                                             )
13               v.                          )
                                             )
14    HJM SUNRISE PLAZA, LLC;                )
                                             )
15    ADR DUE LLC,                           )
                                             )
16                           Defendants.     )
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1           This Court having granted Defendants HJM Sunrise Plaza, LLC and ADR Due
2     LLC’s Motion for Summary Judgment and dismissed as moot Plaintiff Brian Whitaker’s
3     claim by Order dated November 5, 2020,
4           IT IS ORDERED, ADJUDGED, AND DECREED that judgment is entered in favor
5     of Defendants and against Plaintiff.
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7     DATED: November 5, 2020
8                                                            DOLLY M. GEE
9                                                    UNITED STATES DISTRICT JUDGE
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